808 F.2d 834Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Luther G. DANIEL, Plaintiff-Appellant,v.U.S. ARMY JUDGE ADVOCATE GENERAL;  Charles E. Franklin;Imron A. Shilleh;  C. Eighton Rhea;  U.S.Department of Justice;  U.S. AttorneyGeneral;  L.W. Wood, Jr.,Defendants-Appellees.
    No. 86-1171.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 23, 1986.Decided Dec. 11, 1986.
    
      Before HALL, ERVIN and CHAPMAN, Circuit Judges.
      Luther G. Daniel, appellant pro se.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Daniel v. U.S. Army Judge Advocate General, C/A No. 86-12-M (N.D.W.Va., June 13, 1986).  Appellant's motion for consideration of the briefs submitted on appeal is granted.  Appellant's motion for a stay and injunction pending appeal and his motions for extraordinary and other relief are denied.
    
    
      2
      AFFIRMED.
    
    